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 1                   DECLARATION OF AUSA VICTOR A. RODGERS
 2         I, Victor A. Rodgers, declare as follows:
 3         1.     I am one of the AUSAs representing defendants United States of America
 4   and Tracy L. Wilkison and Kristi Koons Johnson in their official capacity only
 5   (collectively, “the government”) in this action.
 6         2.     I have held conferences of counsel with plaintiff’s counsel regarding
 7   government motions to dismiss on cases with virtually identical complaints to the instant
 8   case, including on June 14, 2021, with plaintiff’s counsel William Wargo, Esq., who is
 9   also counsel in the related case filed by Louis Loe v. United States of America, et al.,
10   Case No. 21-cv-3328-RGK-MAR, regarding government motions to dismiss. We have
11   not been able to resolve our differences.
12         I declare under penalty of perjury under the laws of the United States of America
13   that the foregoing is true and correct and that this declaration is executed at Los Angeles,
14   California, on August 30, 2021.
15                                                                /s/ ___________
                                                          AUSA VICTOR A. RODGERS
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